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|N THE UN|TED STATES D|STR|CT COURT
FOR THE SOUTHERN D|STR|CT OF OHIO
WESTERN D|VIS|ON

TRESSA SHERROD. et a/.,

Piaintirrs,

v. _ Case No. 3:14-cv-454
oFFlCER sEAN C. Wll_LlAr\/is, er JUDGE WALTER H. RlCE
a/.,

Defendants.

 

DEClSlON AND ENTRY OVERRUL|NG WlTHOUT PREJUD|CE
PLA|NT|FFS’ |VlOT|ON IN LllVl|NE TO PRECLUDE ARGUMENT THAT
RONALD RlTCH|E WAS A LEGAL OR PROX|IV|ATE CAUSE OF JOHN
CRAWFOF{D'S DEATH lDOC. #211); GRANT|NG WAL-l\/|ART LEAVE
TO F|LE A |VlOT|ON FOR SU|VllVlARY JUDGIV|ENT ON TH|S |SSUE
W|TH|N 30 DAYS OF TH|S DEC|S|ON AND ENTRY

 

This matter is currently before the Court on P|aintiffs' lVlotion in Limine to
Prec|ude Argument that Rona|d Ritchie Was a Lega| or Proximate Cause of John
Cranord's Death, Doc. #21 1. P|aintiffs ask the Court for an Order prohibiting the
inclusion of Rona|d Ritchie on the verdict form or otherwise arguing that he is a
legal or proximate cause of the death. Wa|-Mart, however, argues that the jury
should be permitted to apportion some degree of fault to Ritchie, even though he
has not been named as a defendant in this |aWsuit. Doc. #245.

For the reasons set forth beloW, the Court concludes that a motion in limine

is not the proper procedural vehicle by Which to decide this important issue.

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Accordingly, the Court overrules Plaintiffs' motion Without prejudice, and gives

Wal-l\/|art 30 days in Which to file a motion for summary judgment on this issue.

|. Relevant Facts

The Court presumes the parties' familiarity With the relevant facts. Ronald
Ritchie Was the Wal-Mart shopper Who called 911, after seeing John Crawford
Walking through the store with What appeared to be an assault rif|e. Ritchie told
the 911 dispatcher that Crawford Was loading the rifle and pointing it at people
inside the store.

Beavercreek Po|ice Officer Sean Wi||iams and Sergeant David Darkow
responded to the 91 1 ca||. They located Cravvford in the pet department holding
the rifle at his side. Darkow yelled at Cranord to drop the gun, and Wi||iams fired
two shots, killing Crawford. lt Was later discovered that Crawford had been

holding an unloaded pellet rifle that he picked up in the sporting goods department

ll. Apportionment Law

At issue is Whether Ronald Ritchie, a non-party, may be included in the
jury's apportionment of liability. The Ohio statute governing the apportionment of
liability in a tort action provides as fol|oWs:

(A) ln determining the percentage of tortious conduct attributable to a

party in a tort action under section 2307.22 or sections 2315.32 to

2315.36 of the Revised Code, the court in a nonjury action shall make
findings of fact, and the jury in a jury action shall return a general

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verdict accompanied by answers to interrogatories, that shall specify
all of the following:

(1) The percentage of tortious conduct that proximately caused
the injury or loss to person or property or the wrongful
death that is attributable to the plaintiff and to each party
to the tort action from Whom the plaintiff seeks recovery in
this action;

l2) The percentage of tortious conduct that proximately caused
the injury or loss to person or property or the Wrongful
death that is attributable to each person from Whom the
plaintiff does not seek reco very in this action.

(B) The sum of the percentages of tortious conduct as determined
pursuant to division (A) of this section shall equal one hundred per
cent.

(C) For purposes of division (A)(Z) of this section, it is an affirmative
defense for each party to the tort action from whom the plaintiff
seeks recovery in this action that a specific percentage of the tortious
conduct that proximately caused the injury or loss to person or
property or the wrongful death is attributable to one or more persons
from Whom the plaintiff does not seek recovery in this action. Any
party to the tort action from Whom the plaintiff seeks recovery in this
action may raise an affirmative defense under this division at any time
before the trial of the action.

Ohio Rev. Code § 2307.23 lemphasis added).

Notab|y, because this is an affirmative defense, it is one on Which Wa|-|Vlart
would bear the burden of proof at trial. ln order for Ritchie, a non-party, to be
included in any apportionment of liability, Wal-lVlart Would have to prove that
Ritchie: (1) engaged in ”tortious conduct;" (2) that "proximately caused"

Crawford's death. See Ohio Rev. Code § 2307.23(A)(2).

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lll. Discussion

ln their lVlotion in Limine, Plaintiffs essentially ask the Court to prohibit Wal-
lVlart from raising this affirmative defense at trial. They ask the Court to
determine, as a matter of law, that Ritchie engaged in no actionable tortious
conduct, and that Fiitchie’s statements to the 91 1 dispatcher were not the
proximate cause of Crawford's death. Plaintiffs then ask the Court to exclude all
argument that the jury should apportion some degree of fault to Ritchie.

ln response, Wal-l\/lart argues that the jury should be permitted to apportion
some degree of fault to Ritchie because, based on the evidence presented, a
reasonable jury could find that Ritchie's statements to the 911 dispatcher
constitute tortious conduct and that, because Officer Williams relied on those
statements in deciding to use deadly force, they were a proximate cause of
Crawford's death.

Counsel has indicated that a determination of whether Ritchie may be
included on the verdict form as someone to whom a percentage of fault may be
apportioned is critical, both in terms of trial strategy and settlement discussions
The Court agrees that this is an important issue. The Court strongly believes,
however, that a motion in limine is not the proper procedural vehicle for resolving
this question. l\llotions in limine are typically granted prior to trial only if the
moving party proves that the evidence in question is clearly inadmissible. The
Court declines to determine significant facts through the vehicle of a motion in

|imine; rather, in the Court's opinion, it must either consider all the evidence on a

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particular point, both on direct and cross-examination at trial, or through the
medium of a pretrial motion for summary judgment.

At issue here is Whether Wal-lVlart is entitled to assert its ”empty-chair”
defense at all. Wal»l\llart wants the jury to apportion some degree of fault to
Ronald Ritchie even though he is not named as a defendant in this lawsuit.
Because this affirmative defense involves mixed questions of law and fact, it is
more appropriately addressed through a motion for summary judgment. See Fed.
Fl. Civ. P. 56la) (”A party may move for summary judgment, identifying each claim
or defense-or the part of each claim of defense¢on which summary judgment is
sought."l.

Given the current state of this litigation, with the pending interlocutory
appeal, the Court is willing to entertain a belated motion for summary judgment on
this topic. ln that context, the Court can then determine whether, based on the
evidence presented, a reasonable jury could find that Fiitchie engaged in tortious
conduct that proximately caused Crawford's death such that he is properly
included in any apportionment of liability on the verdict form. Based on the briefs
already submitted in connection with Plaintiffs' l\/lotion in Limine, the Court can,
however, perhaps narrow the scope of that motion for summary judgment.

Wal-lVlart must prove that Ritchie engaged in ”tortious conduct." Although
this term is not specifically defined by statute, common sense dictates that

”tortious conduct” involves acts or omissions that would give rise to a ”tort

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action," which is statutorily defined as ”a civil action for damages for injury, death,
or loss to person or property.” Ohio Rev. Code § 2307.011(J).

Wal-lVlart notes that Ohio's apportionment statute specifically contemplates
a jury apportioning fault to a non-party who could not have been sued for the
injury. The statute provides that, in apportioning liability, the jury must consider
tortious conduct ”attributab|e to each person from whom the plaintiff does not
seek recovery in this action." Ohio Rev. Code § 2307.23(A){2). ln turn, Ohio Rev.
Code § 2307.11((3) defines ”persons from whom the plaintiff does not seek
recovery in this action” to include ”persons who are not a party to the tort action
whether or not that person Was or could have been a party to the tort action if the
name of the person has been disclosed prior to tria|.” (emphasis added). Wal-l\/lart
interprets the italicized language to mean that Ritchie may be apportioned fault
even if Plaintiffs would have no viable, recoverable tort claim against him.

The Court disagrees. As Plaintiffs note, the cases cited by Wal-Mart involve
situations in which employers or governmental entities are immune from liability
even though they engaged in tortious conduct that proximately caused a particular
injury. |n that situation, liability could be apportioned to them even though they
could not have been named as a defendant in the lawsuit. See, e.g., Fisher v.
Beazer E., lnc., 2013-Ohi0-5251, 2013 WL 6221367 l8th Dist.) (ho|ding that
former employers were properly included on verdict form even though they were
immune from liability under workers' compensation laws). ln contrast, Rona|d

Ritchie is not immune from liability. The fact that he was not named a defendant

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in this lawsuit does not prohibit the jury from apportioning some degree of fault to
him. However, Wal-l\llart must first prove that Flitchie engaged in tortious conduct
that proximately caused Crawford's death.

That ”conduct” must involve ”acts or omissions," see Ohio Rev. Code
§ 2307.011{A), that give rise to a civil tort action. The question, therefore, is
whether Ritchie could be liable in tort for statements he made to the 911
dispatcher. Ritchie told Agent Hornyak of the Ohio Bureau of Criminal
investigation that he called 911 because he was always told "that if you see
something wrong, out of place, call for help." Doc. #135, PagelD#3477. Ritchie
thought that it was odd that Crawford was carrying what appeared to be a real
assault rifle through the store while talking on the phone. He thought that
Crawford might be trying to set something up. Ritchie Was concerned about his
safety and the safety of others. /d. at PagelD##3470, 3477-78.

Although Ritchie told the 91 1 dispatcher that Crawford was loading the rifle
and pointing it at people, Wal-l\/lart notes that there is no evidence to support a
finding that Crawford ever pointed the pellet rifle directly at anyone in the store,
Doc. #222-1, Page|D#15149, and it is undisputed that the pellet rifle was not
loaded. Ritchie later explained that, when he said that Crawford was pointing the
rifle at people, he meant that Crawford was ”muzzle checking” them, passing the
muzzle across their bodies, ”whether intentionally or not." Doc. #245,
PagelD##17349-50; Doc. #135, PagelD##3558, 3390, 3393. Ritchie admitted

that did not see Crawford load the rifle, but he saw him fidgeting with it and heard

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clicking noises which he believed to be the sound of Crawford loading a magazine.
Doc. #245, PagelD##17349-50; Doc. #135, Page|D##3436, 3450, 3465-66,
3485-86.

Plaintiffs argue that, even though Fiitchie's statements to the 91 1 dispatcher
may have been somewhat misleading, they do not rise to the level of actionable
tortious conduct.

ln Foley v. University of Dayton, 2016-Ohio-7591, 150 Ohio St. 3d 252, 81
N.E.3d 398, the Ohio Supreme Court considered under what circumstances an
individual can be held liable for reporting inaccurate information to law
enforcement authorities Col|ege students Evan and Andrew Foley and l\/lichael
Fagans, knocked on the door of a townhouse in the middle of the night, mistakenly
believing that their friend lived there. |Vlichae| Groff, the occupant of the
townhouse, opened the door. When Evan asked if their friend Was there, Groff,
who was allegedly intoxicated, became belligerent and began shouting profanities.
Evan realized that he was at the wrong townhouse and offered his hand to
apologize. Groff allegedly slammed the door in his face. Evan knocked once more,
and then he and the others left. As they were walking away, Groff opened the
door and told them that he had called the police. Groff and his roommate told the
police that the Foleys and Fagans were attempting to break into the townhouse.

Foley and the others were arrested. After all charges against them were
dropped or otherwise resolved, they sued Groff and his roommate for ”negligent

misidentification." They alleged that Groff owed them a duty in providing

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information to law enforcement authorities and had breached this duty by
improperly identifying them as being responsible for a criminal act.

The Ohio Supreme Court, on certification of questions from the district
court, refused to recognize such a cause of action. lt held that ”a plaintiff does
not have a cause of action in tort for negligent misidentification and . . . it Would
contravene public policy to allow such a claim." Foley, 2016-Ohio-7591, at l2.
The court explained that public policy favors the reporting of crimes and ”citizens
who in good faith report crimes or come forward as eyewitnesses to crimes”
should be able to do so ”without fear of civil liability.” ld. at 1l1l13-15. To
recognize a cause of action for negligent misidentification ”would have a chilling
effect on that public policy.” ld. at 1[13. individuals who call 911 to report a
crime should not be exposed to liability for making an “honest mistake.” ld. at
il14. Although it refused to recognize a cause of action for “negligent
misidentification," the court noted that when injury is caused by the false reporting
of crime, other tort actions may still be availab|e, including malicious prosecution,
defamation, false arrest or imprisonment, and false-light invasion of privacy. ld. at
1l1l14-16.

Wal-l\llart argues that Foley is inapplicable because it was not decided until
more than two years after Crawford was shot. ln Foley, the court acknowledged
that a few Ohio appellate courts had previously recognized a cause of action for

negligent misidentification ld. at WHlE)-12. Wal-i\/lart maintains that, because

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negligent misidentification was a recognized tort in 2014, Wal-l\llart should be able
to apportion liability to Ritchie.

The Court disagrees. Although some appellate courts had recognized the
tort of negligent misidentification, the Ohio Supreme Court noted that it never had
done so, and that the appellate court decisions contravened public policy. ld. at
1[12. l\/loreover, the Ohio Supreme Court has held that ”[tlhe general rule in Ohio
is that a decision will be applied retroactively unless retroactive application
interferes with contract rights or vested rights under the prior law." DiCenzo i/. A-
Best Prods. Co., 120 Ohio St.3d 149, 2008-Ohio-5327, 897 N.E.2d 132, 1l14.
Nothing in the Foley decision indicates that it was intended to be applied only
prospective|y, and there is no indication that retroactive application herein would
interfere with any contract rights or vested rights under the prior law. Accordingly,
the Court concludes that Foley applies retroactively and forecloses any claim that
Ritchie's conduct gave rise to a cause of action for negligent misidentification.

Wal-l\/lart argues that, even if Foley applies, there is evidence to support a
finding that Fiitchie intentionally lied to the 911 dispatcher and that this conduct
could give rise to other tort claims. Wal-l\/lart suggests that Flitchie could be liable
for multiple intentional torts, including defamation, intentional infliction of
emotional distress, or intentional misidentification. lt also suggests that Ritchie
could be liable for malicious prosecution and false imprisonment, even though,

because of Crawford's death, not all elements of these torts were satisfied.

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ln the Court’s view, it is highly unlikely that Wal-lVlart will be able to
succeed on any of these tort theories. Nevertheless, given the importance of this
issue, the Court is willing to consider Wal-Nlart's arguments on a motion for
summary judgment. Although Plaintiffs could move for summary judgment on this
issue, it is not fair to make them guess Which intentional torts Wa|-lViart is claiming
are implicated by Ritchie‘s conduct. Accordingly, the Court finds it preferable for
Wal-l\/lart to file a motion for summary judgment, identifying the specific legal
theory or theories that form the basis for its affirmative defense. WaI-lV|art is

granted leave to do so within 30 days of the date of this Decision and Entry.

lV. Conclusion

For the reasons set forth above, the Court OVERRULES W|THOUT
PFlEJUDlCE Plaintiffs’ l\/lotion in Limine to Prec|ude Argument that Fiona|d Ritchie
was the Lega| or Proximate Cause of John Crawford's Death, Doc. #211. Wal-
l\/lart is granted leave to file a motion for summary judgment on this issue within

30 days of the date of this Decision and Entry.

Date: February 8, 2019 UW}§®
WALTER H. R|CE
UN|TED STATES D|STR|CT JUDGE

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